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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO



OHIO DEMOCRATIC PARTY,

                              Plaintiff,

       v.
                                                        Civil Action No. 1:16-cv-02645-JG

OHIO REPUBLICAN PARTY, DONALD J.                        JUDGE JAMES S. GWIN
TRUMP FOR PRESIDENT, INC., ROGER J.
STONE, JR., and STOP THE STEAL INC.,                    MAGISTRATE JUDGE THOMAS M.
                                                        PARKER
                              Defendants.




                 PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Ohio Democratic Party respectfully

requests that the Court dismiss this action because the claims set forth in the Complaint , which

are for injunctive relief, are in connection with the 2016 Election, which took place on

November 8, 2016. As the 2016 Election has already occurred, the claims for injunctive relief

set forth in the Complaint are rendered moot and should not be further litigated.

       On November 9, 2016, via telephone, Plaintiff’s counsel spoke with counsel for

Defendant Donald J. Trump for President, Inc. (the “Trump Campaign”), who represented the

Trump Campaign was unopposed to this Motion. Also on November 9, 2016, Plaintiff’s counsel

contacted counsel for Defendant The Ohio Republican Party (the “ORP”) via telephone, but

counsel for the ORP was unable to advise if the ORP was unopposed to this Motion.
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      A proposed Order dismissing this action is attached hereto.



November 9, 2016                               Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2016, a copy of the foregoing Motion for Voluntary

Dismissal was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. All other parties

will be served in accordance with the Federal Rules of Civil Procedure. Parties may access this

filing through the Court’s system.



                                              /s/ Steven S. Kaufman
                                              One of the Attorneys for Plaintiff
                                              Ohio Democratic Party




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